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__________________________________________________________________
                                                 SO ORDERED,



                                                 Judge Katharine M. Samson
                                                 United States Bankruptcy Judge
                                                 Date Signed: March 15, 2017

                The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________
                         UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

In re:                                                 )
                                                       ) Chapter 11
MISSISSIPPI PHOSPHATES                                 ) Case No.: 14-51667-KMS
CORPORATION, et al.,                                   )
                                                       ) Jointly Administered
         Debtor.                                       )
MISSISSIPPI PHOSPHATE                                  )
CORPORATION LIQUIDATING TRUST                          )
(MPCLT), EDWIN N. ORDWAY, JR.,                         )
Managing Director, BERKLEY RESEARCH                    )
GROUP, LLC, in his capacity as MPCLT                   )
TRUSTEE OF THE MPCLT TRUST,                            )
                                                       )
         Plaintiff,                                    ) A.P. No.: 16-06047-KMS
                                                       )
v.                                                     )
                                                       )
ALLSTATE WORKPLACE DIVISION,                           )
                                                       )
         Defendant.                                    )

                                       DEFAULT JUDGMENT

          Default was entered against defendant Allstate Workplace Division (the "Defendant") on

March 15, 2017 [Dkt 23]. The plaintiff Mississippi Phosphate Corporation Liquidating Trust

(MPCLT), Edwin N. Ordway, Jr., Managing Director, Berkley Research Group, LLC, in his

capacity as MPCLT Trustee of the MPCLT Trust (the "Plaintiff"), has requested entry of



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judgment by default and has filed an affidavit stating that the Defendant is not in military

service.

          Furthermore, it appears from the record that the defendant is not an infant or incompetent

person. Therefore, pursuant to Fed. R. of Civ. P. 55(b)(2), as incorporated by Fed. R. Bankr. P.

7055, judgment is entered against Defendant in favor of Plaintiff as follows.

          IT IS ORDERED THAT:

          Judgment by default is entered in favor of the plaintiff against the Defendant in the

amount of $13,233.06, plus interest at the legal rate from the date of the Preferential Transfers,1

together with any costs of this action;

          The Plaintiff is entitled to recover $13,233.06 from the Defendant.

                                         ###END OF ORDER###

Submitted by:

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          1
          Capitalized words used herein, but which remain undefined, shall have the same meaning ascribed to
them in the Complaint.



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